     Case 20-21957-JNP           Doc 29     Filed 06/30/21 Entered 06/30/21 09:01:59                  Desc order
                                          vol. cnv 13 to 7 Page 1 of 2
Form ovolcnv − ovolcnvv27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 20−21957−JNP
                                         Chapter: 7
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Robert Gevers                                            Jennifer Gevers
   aka Robert M. Gevers                                     aka Jennifer M. Gevers
   403 Glenn Ave                                            403 Glenn Ave
   Egg Harbor Township, NJ 08234−6108                       Egg Harbor Township, NJ 08234−6108
Social Security No.:
   xxx−xx−7574                                              xxx−xx−1200
Employer's Tax I.D. No.:


              ORDER Re VOLUNTARY CONVERSION FROM CHAPTER 13 TO CHAPTER 7




         The Court having noted the voluntary conversion to chapter 7 by the debtor, and for good cause shown, it is
hereby

           ORDERED that within 120 days of the date of this order the chapter 13 trustee shall file a Final Report
including an accounting of all receipts and distributions or a statement indicating why the report cannot be filed, and
it is further

          ORDERED that upon the filing of the Final Report the chapter 13 trustee is discharged as trustee of the
estate and the bond is canceled, and it is further

         ORDERED that within 14 days the debtor shall file:

         .    amendments to previously filed schedules and statements as necessary,

         .    all schedules and statements required by 11 U.S.C. § 521(a), if such documents
              have not already been filed, and

         .    a schedule of all property which was acquired after the commencement of the
              case, but before the entry of this order, and

         .    a schedule of executory contracts and unexpired leases entered into or assumed
              after the commencement of the case, but before the entry of this order, and

         .    a schedule of unpaid debts incurred after the commencement of the case, but
              before the entry of this order.




Dated: June 30, 2021
JAN: lgr
Case 20-21957-JNP   Doc 29     Filed 06/30/21 Entered 06/30/21 09:01:59   Desc order
                             vol. cnv 13 to 7 Page 2 of 2
                                 Jerrold N. Poslusny Jr.
                                 United States Bankruptcy Judge
